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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATED OF AMERICA,

                       Plaintiff,
                                                              Case Number 07-20222
v.                                                            Honorable David M. Lawson

OMAR JAY GLADSON,

                  Defendant.
____________________________________/

          ORDER VACATING ORDERS APPOINTING FEDERAL DEFENDER

       On July 27, 2012, the Court entered an order appointing the Federal Defender Office “to

represent the defendant for the limited purpose of determining the defendant’s eligibility for a

sentence reduction, conferring with the Probation Department and the U.S. Attorney’s Office, and

gathering the pertinent information to assist the Court in expeditiously resolving any pending or

intended 18 U.S.C. § 3582(c) motions.” Order [dkt. #262]. The Court entered that order because

the defendant had informed the Court of his claim that he “may be eligible for earlier release

pursuant to the enactment of the Fair Sentencing Act of 2010 and Amendment 750 to the U.S.

Sentencing Guidelines, which retroactively reduced the offense level for crack offenses.” Ibid. On

June 1, 2015, the Court entered an order reappointing the Federal Defender to continue its

representation of the defendant for the same purpose [dkt. #283].

       On June 3, 2015, attorney Jill Price of the Federal Defender Office informed the Court that,

after extensive investigation of the defendant’s case, she had determined that there was no legal

basis for seeking any further relief for the defendant, because he was sentenced as a career offender.

The United States Court of Appeals for the Sixth Circuit has held that a defendant sentenced as a

career offender is not eligible for a sentence reduction under the reduced guidelines enacted by the
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Fair Sentencing Act and Amendment 750. United States v. Perdue, 572 F.3d 288, 290-92 (6th Cir.

2009). “Because changes to the Sentencing Guidelines [would not] affect [the defendant’s] career

offender range, he is not entitled to a sentence reduction under § 3582(c)(2).” United States v.

Johnson, 570 F. App’x 560, 564-65 (6th Cir. 2014). The purpose for which the Court appointed

counsel — investigating his eligibility for a sentence reduction — has been fulfilled, and it is evident

from the results of the investigation that there is no further relief that counsel could secure on his

behalf. The Court therefore will vacate the orders of appointment.

       Accordingly, it is ORDERED that the orders appointing the Federal Defender Office to

represent the defendant [dkt. #262, 283] are VACATED. The appearance of attorney Jill Price as

counsel of record for defendant Omar Gladson is WITHDRAWN, and attorney Price is relieved of

any further responsibility to the Court in this matter.

                                                        s/David M. Lawson
                                                        DAVID M. LAWSON
                                                        United States District Judge

Dated: August 5, 2015

                                                  PROOF OF SERVICE

                          The undersigned certifies that a copy of the foregoing order was served
                          upon each attorney or party of record herein by electronic means or first
                          class U.S. mail on August 5, 2015.

                                                            s/Susan Pinkowski
                                                            SUSAN PINKOWSKI




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